NB:MEM

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK“ 5 9

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UNITED STATES OF AMERICA

AFFIDAVIT IN
- against _ SUPPORT OF ARREST
WARRANT
QUINCY HOMERE,
also known as “Q,” (18 U.S.C. §§ 924(c), 2113(d), and 2)

Defendant.

EASTERN DISTRICT OF NEW YORK, SS:

JAMES MCCARTHY, being first duly sworn, hereby deposes and states as
follows:

On or about November 9, 2015, within the Eastern District of New York, the
defendant QUINCY HOMERE, also known as “Q,” together with others, did knowingly,
intentionally take by force, violence and intimidation, from the person and presence of
another, money belonging to and in the care, custody, control, management and possession
of a bank or other financial institution, to wit: the Wells Fargo branch located at 145 Fulton
Avenue, Hempstead, New York, 11550, the deposits of which are insured by the Federal
Deposit Insurance Corporation, and, in so doing, put in danger the life of a person by the use
of a dangerous weapon.

(Title 18, United States Code, Sections 21 13(d) and 2)
we

On or about November 9, 2015, within the Eastern District of New York, the
defendant QUINCY HOMERE, together with others, did knowingly and intentionally use
and carry one or more firearms during and in relation to a crime of violence, to wit, a
violation of Title 18, United States Code, Section 2113(d).

(Title 18, United States Code, Sections 924(c) and 2)

The source of your deponent’s information and the grounds for his belief are
as foilows:

l. I have been a Special Agent with the Federal Bureau of Investigation
(“FBI”) for more than twenty years. In that time I have participated in the investigation of
numerous cases involving bank robberies. I am familiar with the facts and circumstances set
forth below from my participation in the investigation, of the robbery discussed below,
which includes, but is not limited to, my review of surveillance photos, interviews with
witnesses, review of laboratory results and conversations with other law enforcement
personnel assisting with the investigation.'

2. As detailed below, on or about November 9, 2015, at approximately
6:00 p.m., a Wells Fargo branch, located at 145 Fulton Avenue in Hempstead, New York
(the “Wells Fargo” or the “Bank”) was robbed by four individuals, all male and wearing
masks, gloves and/or sunglasses, upon information and belief one of these four individuals
was the defendant QUINCY HOMERE.

3. During the bank robbery one of the four individuals brandished an AK-

47 rifle inside the Bank. When the four individuals entered the Bank, they announced that

' Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and
circumstances of which I am aware.
they were conducting a robbery. The individual who was brandishing the AK-47 jumped
over the counter where Bank tellers were standing and ordered them to the rear of the Bank
where the Bank’s main vault and ATM safe were located. Bank employees were ordered to
open safes and the ATM within the vault. The four individuals took approximately $375,710
cash from the Bank and exited from the rear of the Bank.

4, Local law enforcement was notified of the robbery, began conducting
surveillance and set up a road block on the Southern State Parkway. At approximately 6:16
p.m., a silver BMW was observed by members of the Hempstead Police Department
travelling westbound on the Southern State Parkway, driving against traffic along the exit
ramp.

5. The BMW was pursued by the Hempstead Police Department and New
York State troopers until it stopped in front of 533 Greenwood Court in West Hempstead,
New York. Members of Hempstead Police Department observed three individuals exit the
vehicle and run. The BMW from which the three individuals exited contained in plain view,
amongst other things, a bag with cash and a loaded AK-47 in the backseat.

6. On November 16, 2015 the BMW was searched pursuant to a search
warrant by the Honorable A. Kathleen Tomlinson, a United States Magistrate Judge in the
Eastern District of New York.

7. During the execution of the search warrant a black mask and black knit
gloves were recovered from the passenger side, rear seat of the BMW. The black mask and
black knit gloves were sent to the Office of the Medical Examiner for Nassau County
(“OMENC”) for deoxyribonucleic acid (“DNA”) testing and analysis. DNA was recovered

from both items and submitted to the New York State DNA Indexing System which contains,
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among other things, DNA specimens from convicted offenders in the State of New York. On
December 10, 2015 the OMENC concluded that the DNA from both the black mask and
black knit gloves were consistent with DNA from the New York State DNA Indexing
System relating to QUINCY HOMERE. Further, your deponent has been informed that the
probability that a randomly selected, unrelated person would have a DNA profile matching
that of the sample is 1 in 348,000,000,000 individuals.

8. WHEREFORE, your deponent respectfully requests that the defendant

QUINCY HOMERE, be dealt with according to law.

James McCarthy
Special Agent
Federal Bureau of Investigation

Sworn to before me this
29th day of December, 2015

THE HONORABLE ARLENE R. LINDSAY
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
